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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                      - - -X

 UNITED STATES OF AMERICA
                                                         ORDER
         - against-
                                                         Docket No. 20-CR-577 (JMA)
 CESAR LOPEZ-LARIOS,

                         Defendant.

                                      - - -X


               Upon the application of John J. Durham, United States Attorney for the Eastern

District of New York, it is hereby ORDERED that the underlying indictment, Criminal Docket

No. 20-577, ECF Docket No. 1, be dismissed without prejudice, with respect to the above-

referenced defendant only.


Dated:     Brooklyn, New York
           March 11, 2025
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                                         /s/ Joan M. Azrack                      /
                                          Hfe'NORABLE JOAN M. AzRACK
                                          UNITED STATES DISTRICT JUDGE
                                          EASTERN DISTRICT OF NEW YORK
